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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY

 JAMES W. HOOVER, JR.,                       )
                                             )
        Plaintiff,                           )
                                             )
 vs.                                         )      CASE NO. 3:17-cv-00524-GNS
                                             )
 EQUIFAX INFORMATION SERVICES                )
 LLC, et al.,                                )
                                             )
        Defendants.                          )

                          NOTICE OF VOLUNTARY DISMISSAL

        NOW COMES Plaintiff, James W. Hoover, Jr., pursuant to Fed. R. Civ. P. 41(a)(1)(A)

 and files this Notice to Dismiss with prejudice the above-referenced action against Defendant,

 Equifax Information Services LLC, only, who has neither filed an Answer nor Motion for

 Summary Judgment in this action. Each party shall bear its own fees and costs.

        This 14th day of December, 2017.

                                                    HEMMINGER LAW OFFICE, PSC

                                                    /s/ David W. Hemminger
                                                    David W. Hemminger
                                                    HEMMINGER LAW OFFICE, P.S.C.
                                                    616 S. Fifth Street
                                                    Louisville, KY 40202
                                                    Attorneys for Plaintiff James W. Hoover, Jr.
Case 3:17-cv-00524-GNS-CHL Document 24 Filed 12/14/17 Page 2 of 2 PageID #: 130




                               CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of December, 2017, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system which will send notification of such

 filing to the following:

 Kendall Carter
 King & Spalding LLP
 1180 Peachtree Street
 Atlanta, GA 30309

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 Cleveland, OH 44114


 Dated: December 14, 2017.


                                            /s/ David W. Hemminger
                                            David W. Hemminger




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